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                                   1                      IN THE UNITED STATES DISTRICT COURT

                                   2                    FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4    KIARA ROBLES,                            Case No. 17-cv-04864-CW
                                   5                  Plaintiff,
                                                                                 ORDER FOR OPPOSITION TO
                                   6             v.                              MOTION TO DISMISS
                                   7    IN THE NAME OF HUMANITY, WE
                                        REFUSE TO ACCEPT A FASCIST
                                   8    AMERICA, et al.,
                                   9                  Defendants.
  United States District Court
Northern District of California




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                                  11         On October 5, 2018, Plaintiff Kiara Robles filed her Second

                                  12   Amended Complaint against Defendants Raha Mirabdal and Ian Dabney

                                  13   Miller.    Docket No. 93.    On October 18, 2018, Defendant Mirabdal

                                  14   filed her Motion to Dismiss Second Amended Complaint.             Docket No.

                                  15   96.   Pursuant to Civil Local Rule 7-3, Plaintiff’s response was

                                  16   due on November 1, 2018.     Plaintiff has yet to file her response.

                                  17         “Pursuant to Federal Rule of Civil Procedure Rule 41(b), the

                                  18   district court may dismiss an action for failure to comply with

                                  19   any order of the court.”     Ferdik v. Bonzelet, 963 F.2d 1258, 1260

                                  20   (9th Cir. 1992).     In addition, failure to file an opposition to a

                                  21   motion to dismiss is grounds for dismissal under the Local Rules.

                                  22   Calip v. Soc. Sec. Admin., 14-cv-2047-JD, 2014 WL 3421147, at *2

                                  23   (N.D. Cal. July 14, 2014).     Nevertheless, the Court will afford

                                  24   Plaintiff an opportunity to file a response to Defendant’s Motion

                                  25   to Dismiss due no later than seven days from the filing of this

                                  26   Order.1    If Plaintiff’s counsel, Mr. Kolodzi, does not file an

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                                             1 The Court is aware that Plaintiff is represented only by
                                  28
                                       Mr. Michael Kolodzi after the Court revoked pro hac vice status
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                                   1   opposition by this date, Plaintiff should seek substitute counsel

                                   2   or will need to represent herself pro per.        In such instance,

                                   3   Plaintiff will be granted an additional seven days, totaling

                                   4   fourteen days from the date of this Order to file a response.

                                   5        If Plaintiff files a response, Defendant Mirabdal will have

                                   6   the opportunity to file her reply due no later than seven days

                                   7   after Plaintiff’s response.      Once the Motion is fully briefed,

                                   8   the Court will decide if the motion is suitable for disposition

                                   9   on the papers pursuant to Local Rule 7-1(b).        The Court will set
  United States District Court
Northern District of California




                                  10   a new hearing date if needed.      Thus, the hearing date for

                                  11   November 27, 2018 is hereby VACATED.

                                  12        Failure to respond to Defendant Mirabdal’s Motion to Dismiss

                                  13   may result in the motion being granted and may result in the

                                  14   dismissal of Plaintiff’s claim against Defendant Mirabdal.

                                  15        IT IS SO ORDERED.

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                                  17   Dated: November 13, 2018
                                                                               CLAUDIA WILKEN
                                  18                                           United States District Judge
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                                       of Mr. Kolodzi’s co-counsel, Mr. Larry Klayman. As noted in the
                                  27   Court’s prior order, see Docket No. 99 at 5, if Mr. Kolodzi can
                                       no longer represent Ms. Robles, then he may seek permission from
                                  28   the Court to withdraw as Plaintiff’s attorney. See Civil L.R.
                                       11-5.
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